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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


NICHOLE CARRAU,

                   Plaintiff,

v.                                           Case No: 6:21-cv-1314-PGB-LRH

RIPLEY ENTERTAINMENT,
INC.,

                   Defendant.
                                     /

                                     ORDER

       This cause is before the Court on the parties’ Stipulation for Entry of

Dismissal Without Prejudice, filed September 22, 2021. (Doc. 10). The stipulation

of dismissal is self-executing pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). See Anago Franchising, Inc. v. Shaz, 677 F.3d 1272, 1278 (11th Cir.

2012). Plaintiff’s claims against Defendant Ripley Entertainment, Inc. are

DISMISSED WITHOUT PREJUDICE. The Clerk of Court is DIRECTED to

close the file.

       DONE AND ORDERED in Orlando, Florida on September 23, 2021.




Copies furnished to:
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Counsel of Record
Unrepresented Parties




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